FRANK G. DRENNING, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Drenning v. CommissionerDocket No. 5834.United States Board of Tax Appeals10 B.T.A. 231; 1928 BTA LEXIS 4148; January 26, 1928, Promulgated *4148  A fee received by an attorney for professional services rendered to a municipal board of education under a contract is not exempt from taxation within the meaning of section 1211 of the Revenue Act of 1926.  Frank G. Drenning, Esq., pro se.  O. Bennett, Esq., for the respondent.  LANSDON *231  The respondent has determined a deficiency for the year 1922 in the amount of $62.67.  The petitioner alleges error by the respondent in including as taxable income an amount of $3,000 received by him for professional services rendered to the Board of Education of Topeka, Kans.  All the material facts are admitted.  FINDINGS OF FACT.  The petitioner is an individual residing in Topeka, Kans., where, during the taxable year and for more than twenty years prior thereto, he was engaged in the general practice of law.  On or about October 1, 1921, petitioner entered into an oral contract with the Board of Education of the City of Topeka, whereby he agreed to act as attorney for the Board in connection with the recovery of overcharges for power, light, and heat furnished by the Topeka-Edison Co. to certain Topeka school buildings.  Petitioner's services*4149  under the contract continued to occupy a large part of his time until March 23, 1922, when a settlement was made and a new *232  contract entered into between the Topeka-Edison Co. and the Board of Education for the future supply of power, light, and heat.  Under the settlement the Topeka-Edison Co. paid to the Board of Education the sum of $9,323.52.  Petitioner presented his claim for $3,000 as a fee for professional services rendered and on March 25, 1922, the $3,000 fee was allowed and paid by the Board of Education.  OPINION.  LANSDON: The only question to be determined in this proceeding is whether an attorney fee for professional services rendered under contract with a municipal board of education constitutes exempt income.  The petitioner concedes that he was neither an officer nor an employee of any State or political subdivision thereof within the meaning of section 1211 of the Revenue Act of 1926, but contends that the services rendered by him under contract constituted the performance of a governmental function of a political subdivision of a State and that the income derived therefrom may not be taxed by the Federal Government.  *4150 We are unable to agree with the petitioner's contention and approve the determination of the respondent upon the authority of , and . See also ; ; ; . Judgment will be entered for the respondent.